08-12667-mew       Doc 130      Filed 03/09/12 Entered 03/09/12 10:25:26                Main Document
                                             Pg 1 of 13

                                UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK


        In re: BAGBAG, BOAZ                                           §   Case No. 08-12667-AJG
                                                                      §
                                                                      §
    Debtor(s)                                                         §
          CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
   REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                  AND APPLICATION TO BE DISCHARGED (TDR)

           Alan Nisselson, Trustee, chapter 7 trustee, submits this Final Account,
 Certification that the Estate has been Fully Administered and Application to be Discharged.

          1) All funds on hand have been distributed in accordance with the Trustee's Final Report
 and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee's control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

         2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
 discharged without payment, and expenses of administration is provided below:


  Assets Abandoned: $28,295.00                          Assets Exempt: $8,385.00
  (without deducting any secured claims)
  Total Distribution to Claimants: $0.00               Claims Discharged
                                                       Without Payment: $5,172,077.31

  Total Expenses of Administration: $1,750.07


          3) Total gross receipts of $     1,750.07 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00     (see Exhibit 2 ), yielded net receipts of $1,750.07
 from the liquidation of the property of the estate, which was distributed as follows:




 UST Form 101-7-TDR (10/1/2010)
08-12667-mew        Doc 130        Filed 03/09/12 Entered 03/09/12 10:25:26                     Main Document
                                                Pg 2 of 13


                                         CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                       SCHEDULED           ASSERTED           ALLOWED              PAID


  SECURED CLAIMS
  (from Exhibit 3)                        $24,255.00        $395,813.01              $0.00             $0.00
  PRIORITY CLAIMS:
     CHAPTER 7 ADMIN. FEES
     AND CHARGES
     (from Exhibit 4 )                          0.00           3,561.96           3,561.96          1,750.07

    PRIOR CHAPTER
    ADMIN. FFES AND
    CHARGES (fromExhibit 5)                     0.00               0.00               0.00              0.00
    PRIORITY UNSECURED
    CLAIMS (fromExhibit 6 )                 5,200.00               0.00               0.00              0.00
  GENERAL UNSECURED
  CLAIMS (fromExhibit 7)                2,512,563.00       4,256,062.50       4,254,314.31              0.00
                                       $2,542,018.00      $4,655,437.47      $4,257,876.27         $1,750.07
  TOTAL DISBURSEMENTS

           4) This case was originally filed under Chapter 7 on July 10, 2008.
   The case was pending for 44 months.

           5) All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

            6) An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9 .

           Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

   Dated: 02/29/2012                 By: /s/Alan Nisselson, Trustee
                                                   Trustee


   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. §1320.4(a)(2) applies.




 UST Form 101-7-TDR (10/1/2010)
         08-12667-mew              Doc 130         Filed 03/09/12 Entered 03/09/12 10:25:26                          Main Document
                                                                Pg 3 of 13



                                                                EXHIBITS TO
                                                              FINAL ACCOUNT



EXHIBIT 1            GROSS RECEIPTS

                                                                                         UNIFORM                               $ AMOUNT
               DESCRIPTION
                                                                                        TRAN. CODE 1                           RECEIVED
     Gold Watch                                                                         1129-000                                1,750.00

     Interest Income                                                                    1270-000                                    0.07


    TOTAL GROSS RECEIPTS                                                                                                       $1,750.07

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                         UNIFORM                               $ AMOUNT
        PAYEE                                     DESCRIPTION                           TRAN. CODE                                PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                           $0.00
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                                     UNIFORM          CLAIMS
       CLAIM                                                         SCHEDULED               CLAIMS               CLAIMS            CLAIMS
        NO.               CLAIMANT                    TRAN.           (from Form            ASSERTED             ALLOWED             PAID
                                                      CODE                6D)
           6     GMAC                                 4220-000            N/A                  17,534.05                0.00                0.00

           7     GMAC                                 4220-000            N/A                  11,085.76                0.00                0.00

           8     GMAC                                 4220-000            N/A                  17,193.20                0.00                0.00

          19     B&N Realty Holding Corp.             4120-000                   0.00         350,000.00                0.00                0.00

 NOTFILED        Metro Leasing                        4110-000             24,255.00            N/A                   N/A                   0.00


    TOTAL SECURED CLAIMS                                                 $24,255.00          $395,813.01               $0.00               $0.00




UST Form 101-7-TDR (10/1/2010)
     08-12667-mew          Doc 130     Filed 03/09/12 Entered 03/09/12 10:25:26              Main Document
                                                    Pg 4 of 13

EXHIBIT 4     CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                              CLAIMS            CLAIMS             CLAIMS      CLAIMS
                                         TRAN.
                                                      SCHEDULED         ASSERTED           ALLOWED       PAID
                                         CODE
 Alan Nisselson, Trustee                 2100-000          N/A                  437.51         437.51        211.71

 Alan Nisselson, Trustee                 2200-000          N/A                1,151.05       1,151.05        556.98

 Windels Marx Lane & Mittendorf, LLP     3110-000          N/A                1,000.00       1,000.00        483.89

 Windels Marx Lane & Mittendorf, LLP     3120-000          N/A                  647.75         647.75        313.44

 David R. Maltz & Co., Inc.,             3610-000          N/A                  175.00         175.00         84.68
 Auctioneers
 David R. Maltz & Co., Inc.,             3620-000          N/A                     99.36        99.36         48.08
 Auctioneers
 International Sureties, Ltd.            2300-000          N/A                      1.29         1.29          1.29

 The Bank of New York Mellon             2600-000          N/A                     25.00        25.00         25.00

 The Bank of New York Mellon             2600-000          N/A                     25.00        25.00         25.00

 TOTAL CHAPTER 7 ADMIN. FEES                               N/A                3,561.96      3,561.96     1,750.07
 AND CHARGES


EXHIBIT 5     PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                              CLAIMS            CLAIMS             CLAIMS      CLAIMS
                                         TRAN.
                                                      SCHEDULED         ASSERTED           ALLOWED       PAID
                                         CODE
                                                    None

 TOTAL PRIOR CHAPTER ADMIN.                                N/A                     0.00         0.00           0.00
 FEES AND CHARGES


EXHIBIT 6     PRIORITY UNSECURED CLAIMS


                                        UNIFORM        CLAIMS            CLAIMS
   CLAIM                                              SCHEDULED         ASSERTED            CLAIMS      CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form      (from Proofs of     ALLOWED       PAID
                                         CODE              6E)              Claim)
 NOTFILED   Jacqueline Lewis             5200-000           5,200.00         N/A               N/A             0.00


 TOTAL PRIORITY UNSECURED                                   5,200.00               0.00         0.00           0.00
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
     08-12667-mew          Doc 130     Filed 03/09/12 Entered 03/09/12 10:25:26             Main Document
                                                    Pg 5 of 13

EXHIBIT 7     GENERAL UNSECURED CLAIMS


                                         UNIFORM     CLAIMS           CLAIMS
   CLAIM            CLAIMANT              TRAN.     SCHEDULED        ASSERTED            CLAIMS        CLAIMS
    NO.                                             (from Form      (from Proofs of     ALLOWED         PAID
                                          CODE          6F)              Claim)
       1    Asher Alcobi                 7100-000            0.00    1,000,000.00       1,000,000.00        0.00

       2    Uzi Evron                    7100-000            0.00        86,720.00         86,720.00        0.00

       3    Roni Aboudi                  7100-000            0.00        86,720.00         86,720.00        0.00

       4    122 Street Slash, LLC        7100-000            0.00        75,000.00         75,000.00        0.00

       5    North Fork Bank (Capital     7100-000            0.00       200,000.00        200,000.00        0.00
            One)
       9    JPMorgan Chase Bank, NA      7100-000      N/A              294,779.37        294,779.37        0.00

      10    Prime Automotive Parts Co., 7100-000       N/A              104,175.70        104,175.70        0.00
            Inc.
      11    Honeywell, Inc.             7100-000             0.00       372,693.85        372,693.85        0.00

      12    Pace Auto Parts, Inc.        7100-000            0.00       271,029.00        271,029.00        0.00

      13    Summa Capital Corp.          7100-000   1,600,000.00     1,697,183.91       1,697,183.91        0.00

      14    American Express Centurion   7100-000      N/A                 3,866.27         3,866.27        0.00
            Bank
      15    American Express Bank FSB    7100-000      N/A                   138.67           138.67        0.00

      16    American Express Centurion   7100-000            0.00        45,347.96         45,347.96        0.00
            Bank
      17    American Express Bank FSB    7100-000      N/A                      49.88          49.88        0.00

      18    Health Net                   7100-000      N/A               16,609.70         16,609.70        0.00

      20    NYS Department of Tax &      7200-000      N/A                 1,748.19             0.00        0.00
            Finance
 NOTFILED   Discover Card                7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Citibank                     7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Advanta Bank Corp.           7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Capital One Bank             7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Chase                        7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   First National Bank          7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Bank of America              7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Doron Kessel                 7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   MBNA                         7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   USA Distributors             7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Wells Fargo                  7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Autopart International, Inc. 7100-000     908,563.00          N/A                  N/A          0.00
            c/o Murray S. Lubitz, Esq.
 NOTFILED   Harlington Realty Co.        7100-000      unknown            N/A                  N/A          0.00

 NOTFILED   Yellow Book Sales &          7100-000      unknown            N/A                  N/A          0.00
            Distribution Co.

UST Form 101-7-TDR (10/1/2010)
     08-12667-mew        Doc 130     Filed 03/09/12 Entered 03/09/12 10:25:26        Main Document
                                                  Pg 6 of 13
 NOTFILED   Robert Bosch, LLC           7100-000     unknown         N/A                N/A          0.00

 NOTFILED   Universal Auto              7100-000           0.00      N/A                N/A          0.00

 NOTFILED   Flash Sales, Inc.           7100-000     unknown         N/A                N/A          0.00

 NOTFILED   Davis Electronics c/o R & B 7100-000     unknown         N/A                N/A          0.00
            Electronics Corp.
 NOTFILED   Law Offices of Daniel M.    7100-000       4,000.00      N/A                N/A          0.00
            Katzner, PC
 TOTAL GENERAL UNSECURED                           2,512,563.00   4,256,062.50   4,254,314.31        0.00
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
           08-12667-mew                       Doc 130          Filed 03/09/12 Entered 03/09/12 10:25:26                                               Main Document
                                                                            Pg 7 of 13
                                                                                                                                                                                      Exhibit 8


                                                                                     Form 1                                                                                           Page: 1

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 08-12667-AJG                                                                     Trustee:          (521090)        Alan Nisselson, Trustee
Case Name:          BAGBAG, BOAZ                                                              Filed (f) or Converted (c): 07/10/08 (f)
                                                                                              §341(a) Meeting Date:             08/14/08
Period Ending: 02/29/12                                                                       Claims Bar Date:                  08/12/09

                                 1                                           2                             3                          4                    5                      6

                      Asset Description                                  Petition/             Estimated Net Value                Property            Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                    Unscheduled        (Value Determined By Trustee,          Abandoned            Received by       Administered (FA)/
                                                                          Values             Less Liens, Exemptions,             OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                DA=§554(c)                             Remaining Assets

 1         Cash held by Debtor                                                    20.00                           0.00              DA                           0.00                      FA

 2         Security deposit w/ landlord: 304 East 78th Stre                   1,800.00                            0.00              DA                           0.00                      FA

 3         Misc. household goods                                                 475.00                           0.00              DA                           0.00                      FA

 4         Cooking utensils & tableware                                          175.00                           0.00              DA                           0.00                      FA

 5         Misc. household electronics                                           600.00                           0.00              DA                           0.00                      FA

 6         Misc. used clothing                                                   400.00                           0.00              DA                           0.00                      FA

 7         Gold Watch                                                            100.00                           0.00                                       1,750.00                      FA

 8         Loan to Pace Product Solutions, Inc. (08-12666 M                  10,000.00                         7,520.00             DA                           0.00                      FA

 9         Various lawsuits filed by Debtor                                   5,000.00                         5,000.00             DA                           0.00                      FA

10         2005 Cadillac Escalade (200,000 miles) (automobi                   9,825.00                         7,425.00             DA                           0.00                      FA

11         Life Insurance Policy Hanover Insurance Group                           0.00                           0.00              DA                           0.00                      FA

12         Stock held in Pace Product Solutions, Inc.                              0.00                           0.00              DA                           0.00                      FA

13         Stock held in Worldwide Auto Parts, Inc.                                0.00                           0.00              DA                           0.00                      FA
             wholly owned subsdiary of Pace Product Solutions,
           Inc.

14         Stock held in Mazal Hai Auto Parts, Inc.                                0.00                           0.00              DA                           0.00                      FA

15         Stock held in VIP Car Service, Inc.                                     0.00                           0.00              DA                           0.00                      FA

 Int       INTEREST (u)                                                      Unknown                               N/A                                           0.07                      FA

 16       Assets         Totals (Excluding unknown values)                  $28,395.00                     $19,945.00                                      $1,750.07                    $0.00



       Major Activities Affecting Case Closing:


                   (I) Procedural Background


                   1.    On July 10, 2008 (the "Petition Date"), Boaz Bagbag (the "Debtor"), filed a voluntary petition for relief under chapter 7, title 11, United States Code, 11 U.S.C. §§
                   101, et seq. (the "Bankruptcy Code").


                   2.    Thereafter, the United States Trustee (the "UST") appointed Alan Nisselson as interim trustee of the Debtor's estate (the "Estate") pursuant to Bankruptcy Code
                   §701 (a). The Trustee qualified and is serving as permanent trustee pursuant to Bankruptcy Code §702 (d).


                   3. Upon application of the Trustee and by Order dated December 10, 2008, Windels Marx was retained as counsel to the Trustee. (Doc. No. 38).


                                                                                                                                                    Printed: 02/29/2012 11:01 AM       V.12.57
         08-12667-mew                    Doc 130             Filed 03/09/12 Entered 03/09/12 10:25:26                                             Main Document
                                                                          Pg 8 of 13
                                                                                                                                                                                   Exhibit 8


                                                                                 Form 1                                                                                           Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 08-12667-AJG                                                                  Trustee:         (521090)        Alan Nisselson, Trustee
Case Name:      BAGBAG, BOAZ                                                               Filed (f) or Converted (c): 07/10/08 (f)
                                                                                           §341(a) Meeting Date:            08/14/08
Period Ending: 02/29/12                                                                    Claims Bar Date:                 08/12/09

                              1                                          2                             3                           4                    5                     6

                    Asset Description                                Petition/               Estimated Net Value              Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled          (Value Determined By Trustee,        Abandoned            Received by        Administered (FA)/
                                                                      Values               Less Liens, Exemptions,           OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)              DA=§554(c)                              Remaining Assets


               4. Upon application of the Trustee and by Order dated January 10, 2008, the Trustee was authorized to retain David R. Maltz & Co., Inc. ("Maltz", or, the
               "Auctioneers") as his auctioneers for the purpose of liquidating the Debtor's Rolex watch, more fully discussed below. (Doc. No. 114).


               (II) Funds Collected and Distributed By The Trustee


               5. As of October 6, 2011, the Trustee has collected a total of $1,750.04 comprised of: (i) the proceeds of an auction sale of the Debtor's Rolex watch (described
               below); and (ii) interest in the amount of $0.04.


               6. As of the date of this Application, the Trustee has disbursed a total of $51.29 as follows: (i) $1.29 for the Estate's pro rata share of the Trustee's annual blanket
               bonds; and (ii) $50.00 for bank and technology fees.


               7. As of October 6, 2011, the amount held by the Trustee in his Trustee's accounts for the Debtor's estate is $1,698.75.


               (III) Claims Filed In the Debtor's Case


               8.      Upon request of the Trustee, the Court established August 12, 2009 (the "Bar Date") as the last date for non-Governmental entities to file proofs of claim in the
               Debtor's case. (Doc. Nos. 65, 69 and 71).


               9.       Twenty (20) claims totaling $4,651,875.51 (the "Claims") have been filed in the Debtor's case. As set forth below, the Debtor's estate is administratively
               insolvent and, accordingly, the Trustee reviewed the Claims only to verify the priority claimed.


               (IV) Case Status


               10.     The Trustee has collected and liquidated all assets in the Debtor's estate deemed to have value. There are no pending or unresolved matters in this case in the
               Debtor's case.


               11.     The Trustee has prepared his Final Report and Account (the "TFR").


               12.     Windels Marx and Maltz have prepared their respective applications for final allowance and payment of professional fees and expenses. Windels Marx has
               voluntarily reduced its request for fees from $24,562.50 to $1,000.00.


               13.     Unfortunately, the Debtor's estate is administratively insolvent. The Trustee's commissions and expense and the fees and expenses requested by Windels Marx
               and Maltz (collectively, the "Administrative Professional Claims") far exceed the balance available in the Trustee's accounts.


               14.     In the TFR, the Trustee proposes that the Administrative Expense Claims' holders receive an approximate 48% pro rata distribution and that the Claims' holders
               will not receive a distribution.




                                                                                                                                                 Printed: 02/29/2012 11:01 AM       V.12.57
         08-12667-mew                   Doc 130              Filed 03/09/12 Entered 03/09/12 10:25:26                                                 Main Document
                                                                          Pg 9 of 13
                                                                                                                                                                                       Exhibit 8


                                                                                   Form 1                                                                                             Page: 3

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 08-12667-AJG                                                                   Trustee:          (521090)         Alan Nisselson, Trustee
Case Name:      BAGBAG, BOAZ                                                                Filed (f) or Converted (c): 07/10/08 (f)
                                                                                            §341(a) Meeting Date:              08/14/08
Period Ending: 02/29/12                                                                     Claims Bar Date:                   08/12/09

                             1                                             2                             3                           4                     5                      6

                    Asset Description                                 Petition/              Estimated Net Value                 Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,           Abandoned            Received by        Administered (FA)/
                                                                       Values              Less Liens, Exemptions,              OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                 DA=§554(c)                              Remaining Assets

               15.     The Estate is ready to be closed.


               (V) Services Provided


               a) The Investigation of the Debtor.


               16. Shortly after the Trustee's appointment, Robert J. Gumenick, Esq., attorney for creditors Roni Abudi, Asher Alcobi, Uzi Evron and Doron Kessel (the "Movants"),
               contacted the Trustee to discuss the Debtor's case and to alert the Trustee to his interest in the case.


               17. On or about August 8, 2008, the UST filed with the Court an application (the "UST Rule 9019 Motion") for approval of a stipulation with the Debtor dismissing this
               chapter 7 case with prejudice for 18 months, based upon the Debtor's failure to file Filing Schedules, and the possibility that the Debtor, while in chapter 7, improperly
               transferred between approximately $10,000 and $15,000 of estate assets to a related corporation called Pace Products Solutions, Inc. ("Pace"), an auto parts retailer
               and a debtor in a converted chapter 7 case pending in this Court under Case No. 08-12666 (MG). The petition commencing the Pace case was filed simultaneously with
               the Debtor's case.


               18. The Debtor failed to appear at his initial section 341(a) meeting of creditors scheduled for August 14, 2008. Since then, the Trustee has adjourned the creditors'
               meeting from time to time. By Order dated September 8, 2008, the Court authorized the Movants to investigate the Debtor's financial affairs by examining the Debtor
               and others under oath and to compel the production of documents. Thereafter, on or about November 18, 2008, the Movants filed a Response to the UST Rule 9019
               Motion, asserting that through their discovery efforts to that date, they uncovered certain irregularities in the Debtor's financial affairs, as well as the existence of
               possible assets. The Movants argued that the Debtor made improper fraudulent and preferential transfers and that additional discovery was necessary.


               19. The Trustee and the Firm had several conversations thereafter with representatives of the UST concerning the UST Rule 9019 Motion and the Response.
               20. The Trustee and the Firm frequently received and reviewed updates from Mr. Gumenick and discussed numerous aspects of the case with him.
               21. On August 6, 2008, the Movants filed an Application under Bankruptcy Rule 2004 (the "Rule 2004 Application") to compel an examination of the Debtor and
               production of documents form the Debtor and related entities. (Doc. No. 10).


               22. As set forth in the Rule 2004 Application, the Debtor was the owner/director of Pace. Pace's case was converted to a chapter 7 case by order of the Hon. Martin
               Glenn dated July 24, 2008. Albert Togut is the Chapter 7 Trustee for Pace.


               23. The Movants were holders of unsecured claims against the Debtor. The Movants alleged that their claims were not dischargeable under Bankruptcy Code §
               523(a)(2) by reason of the misrepresentation, false pretenses and other improper acts of the Debtor. The Movants alleged that the Debtor had secreted or has
               fraudulently transferred assets that may have been available to the Debtor's creditors, including an automobile parts supplier with a place of business in Yonkers, New
               York. The Movants believed that as head of Pace, the Debtor dissipated at least $1,000,000.00 in Pace's assets and receivables, and had as well used corporate
               monies for personal purposes and for gifts to others. The Movants suspected that the same pattern of behavior applied to the Debtor's personal affairs, including
               transfers of his personal investments in real estate that have been transferred to others for what appears to be no consideration, as well of sources of income from real
               estate and other investments that the Debtor had not and would not, absent being under oath, disclose.


               24. On August 8, 2008, Summa Capital Corp. ("Summa") a creditor of the Debtor filed a Joinder to the Rule 2004 Application. (Doc. 15). By Order dated September 8,


                                                                                                                                                    Printed: 02/29/2012 11:01 AM           V.12.57
         08-12667-mew                  Doc 130              Filed 03/09/12 Entered 03/09/12 10:25:26                                              Main Document
                                                                         Pg 10 of 13
                                                                                                                                                                                   Exhibit 8


                                                                                 Form 1                                                                                           Page: 4

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 08-12667-AJG                                                                 Trustee:          (521090)        Alan Nisselson, Trustee
Case Name:      BAGBAG, BOAZ                                                              Filed (f) or Converted (c): 07/10/08 (f)
                                                                                          §341(a) Meeting Date:             08/14/08
Period Ending: 02/29/12                                                                   Claims Bar Date:                  08/12/09

                             1                                           2                             3                          4                     5                     6

                    Asset Description                                Petition/             Estimated Net Value                Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,          Abandoned            Received by        Administered (FA)/
                                                                      Values             Less Liens, Exemptions,             OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                DA=§554(c)                              Remaining Assets

               2008, the Rule 2004 Application was granted. (Doc. No. 21).


               25. The Trustee reached an agreement with the Debtor to dismiss his case with prejudice. However, the Movants objected and the Trustee withdrew the agreement.
               26. Thereafter, the Trustee, with the assistance of the Firm participated in the investigation of the Debtor. The Trustee's Firm reviewed the transcripts of Bankruptcy
               Rule 2004 examinations conducted by the Movants and held meetings with Mr. Gumenick to discuss his finds.


               27. During this time, eight (8) stipulations with the Debtor extending the time for the Trustee and the UST to object to the discharge of the Debtor, dischargeability of
               debts, for objection to any claimed exemptions of property of the estate and for dismissal were submitted.


               28. The Movants' investigation of the Debtor continued for over two years, during which time the Trustee, through the Firm regularly conducted discussions with Mr.
               Gumenick, reviewed the progress of the investigation and apprised the Trustee of its findings.
               29. In June
               2010, the Movants and Summa Capital Corp. entered into stipulations with the Debtor, which were approved by the Court, pursuant to which: (i) Evron, Roni Abudi and
               Doron Kessel, jointly and severally, were awarded a judgment against the Debtor in the amount of $229,517.76 plus post-judgment interest (Doc. No. 101); and (ii)
               Summa was awarded a judgment against the Debtor in the amount of $1,212,062.40 plus post-judgment interest (Doc. No. 105).


               30. The Trustee conducted an investigation of the pre-Petition Date transfer of real property and funds from the Debtor to his ex-wife Jacqueline Fay Lewis and her
               minor children Emily Sara Lewis and Noa Michelle Lewis (collectively, the "Lewises"). Among other things, the Firm deposed the Debtor, obtained and reviewed and
               analyzed numerous and voluminous documents, and consulted with Debtor's counsel, Mr. Gumenick and lawyers for other creditors, as well as the Pace chapter 7
               trustee, in an attempt to ascertain whether the estate had any assets and whether the Trustee could assert any grounds to object to the Debtor's discharge.
               31. Unfortunately those investigations did not yield any viable causes of action against the Lewises or the Debtor in the Trustee's opinion. The Trustee consulted with
               the Firm, and concluded that the allegations made about the Debtor having transferred assets without consideration were not actionable, and that no viable grounds to
               object to the Debtor's discharge could be asserted.


               b) The Sale of the Rolex Watch


               32. Despite the extensive investigation of the Debtor, the only asset the Trustee identified and collected for liquidation was the Debtor's Rolex watch (the "Rolex
               Watch").


               33. Upon demand of the UST and the Firm, the Debtor turned over the Rolex Watch to the Trustee so that it could be sold at auction.


               34. As set forth above, upon application of the Trustee and by Order dated May 5, 2011, the Trustee was authorized to retain Maltz as his auctioneer. (Doc. No. 114).


               35. On April 28, 2011, the Trustee served a Notice of Sale through of Debtor's Rolex Watch. Pursuant to the Notice, an auction would be held on May 17, 2011,
               Objections, if any, were due May 16, 2011. No objections were filed. (Doc. No. 113).


               36. On May 26, 2011, Maltz conducted the auction sale of the Rolex Watch, and received the highest and best bid in the sum of $1,750.




                                                                                                                                                 Printed: 02/29/2012 11:01 AM        V.12.57
         08-12667-mew                   Doc 130             Filed 03/09/12 Entered 03/09/12 10:25:26                                         Main Document
                                                                         Pg 11 of 13
                                                                                                                                                                           Exhibit 8


                                                                                 Form 1                                                                                    Page: 5

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 08-12667-AJG                                                                 Trustee:       (521090)      Alan Nisselson, Trustee
Case Name:       BAGBAG, BOAZ                                                             Filed (f) or Converted (c): 07/10/08 (f)
                                                                                          §341(a) Meeting Date:        08/14/08
Period Ending: 02/29/12                                                                   Claims Bar Date:             08/12/09

                              1                                          2                           3                       4                    5                    6

                    Asset Description                                Petition/             Estimated Net Value           Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,     Abandoned            Received by      Administered (FA)/
                                                                      Values             Less Liens, Exemptions,        OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)           DA=§554(c)                            Remaining Assets

                37. On June 6, 2011, Maltz filed a Report of Sale of the Auction. (Doc. No. 115).




                38.   On October 7, 2011, the Trustee prepare his Final Report and Account.

     Initial Projected Date Of Final Report (TFR):     December 30, 2011                    Current Projected Date Of Final Report (TFR):       October 7, 2011 (Actual)




                                                                                                                                            Printed: 02/29/2012 11:01 AM    V.12.57
           08-12667-mew                         Doc 130         Filed 03/09/12 Entered 03/09/12 10:25:26                                             Main Document
                                                                             Pg 12 of 13
                                                                                                                                                                                        Exhibit 9


                                                                                      Form 2                                                                                            Page: 1

                                                            Cash Receipts And Disbursements Record
Case Number:           08-12667-AJG                                                                      Trustee:            Alan Nisselson, Trustee (521090)
Case Name:             BAGBAG, BOAZ                                                                      Bank Name:          The Bank of New York Mellon
                                                                                                         Account:            9200-******49-65 - Money Market Account
Taxpayer ID #:         **-***3208                                                                        Blanket Bond:       $94,140,000.00 (per case limit)
Period Ending: 02/29/12                                                                                  Separate Bond: N/A

    1            2                              3                                       4                                                5                     6                    7

 Trans.     {Ref #} /                                                                                                                Receipts        Disbursements             Money Market
  Date      Check #             Paid To / Received From                   Description of Transaction                T-Code              $                  $                  Account Balance
05/23/11       {7}           David R. Maltz Co., Inc.            Gross sale proceeds from sale of Rolex watch       1129-000              1,750.00                                      1,750.00
06/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,750.01
06/30/11      1001           International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                          1.29              1,748.72
                                                                 BALANCE AS OF 06/30/2011 FOR CASE
                                                                 #08-12667, Bond # 016030120 for 6/19/11 to
                                                                 6/1912
07/29/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,748.73
08/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,748.74
08/31/11                     The Bank of New York Mellon         Bank and Technology Services Fee                   2600-000                                         25.00              1,723.74
09/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,723.75
09/30/11                     The Bank of New York Mellon         Bank and Technology Services Fee                   2600-000                                         25.00              1,698.75
10/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,698.76
11/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,698.77
12/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                      1,698.78
01/05/12         Int         The Bank of New York Mellon         Current Interest Rate is 0.0000%                   1270-000                  0.00                                      1,698.78
01/05/12                     To Account #9200******4966          TRANSFER FUNDS                                     9999-000                                       1,698.78                0.00

                                                                                      ACCOUNT TOTALS                                      1,750.07                 1,750.07               $0.00
                                                                                               Less: Bank Transfers                           0.00                 1,698.78
                                                                                      Subtotal                                            1,750.07                   51.29
                                                                                               Less: Payments to Debtors                                              0.00
                                                                                      NET Receipts / Disbursements                       $1,750.07                  $51.29




{} Asset reference(s)                                                                                                                             Printed: 02/29/2012 11:01 AM           V.12.57
           08-12667-mew                      Doc 130          Filed 03/09/12 Entered 03/09/12 10:25:26                                           Main Document
                                                                           Pg 13 of 13
                                                                                                                                                                                    Exhibit 9


                                                                                   Form 2                                                                                           Page: 2

                                                         Cash Receipts And Disbursements Record
Case Number:         08-12667-AJG                                                                    Trustee:            Alan Nisselson, Trustee (521090)
Case Name:           BAGBAG, BOAZ                                                                    Bank Name:          The Bank of New York Mellon
                                                                                                     Account:            9200-******49-66 - Checking Account
Taxpayer ID #:       **-***3208                                                                      Blanket Bond:       $94,140,000.00 (per case limit)
Period Ending: 02/29/12                                                                              Separate Bond: N/A

    1            2                           3                                       4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements               Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                T-Code              $                  $                  Account Balance
01/05/12                   From Account #9200******4965       TRANSFER FUNDS                                    9999-000              1,698.78                                      1,698.78
01/13/12       101         Alan Nisselson, Trustee            Dividend paid 48.38% on $437.51, Trustee          2100-000                                        211.71              1,487.07
                                                              Compensation; Reference:
01/13/12       102         Alan Nisselson, Trustee            Dividend paid 48.38% on $1,151.05, Trustee        2200-000                                        556.98               930.09
                                                              Expenses; Reference:
01/13/12       103         David R. Maltz & Co., Inc.,        Dividend paid 48.38% on $175.00, Auctioneer       3610-000                                         84.68               845.41
                           Auctioneers                        for Trustee Fees (including buyers premiums);
                                                              Reference:
01/13/12       104         David R. Maltz & Co., Inc.,        Dividend paid 48.38% on $99.36, Auctioneer        3620-000                                         48.08               797.33
                           Auctioneers                        for Trustee Expenses; Reference:
01/13/12       105         Windels Marx Lane & Mittendorf,    Dividend paid 48.38% on $1,000.00, Attorney       3110-000                                        483.89               313.44
                           LLP                                for Trustee Fees (Trustee Firm); Reference:
01/13/12       106         Windels Marx Lane & Mittendorf,    Dividend paid 48.38% on $647.75, Attorney for 3120-000                                            313.44                 0.00
                           LLP                                Trustee Expenses (Trustee Firm); Reference:

                                                                                   ACCOUNT TOTALS                                     1,698.78                 1,698.78               $0.00
                                                                                          Less: Bank Transfers                        1,698.78                    0.00
                                                                                   Subtotal                                               0.00                 1,698.78
                                                                                          Less: Payments to Debtors                                               0.00
                                                                                   NET Receipts / Disbursements                          $0.00             $1,698.78

                                  Net Receipts :          1,750.07
                                                     ————————                                                                          Net             Net                       Account
                                    Net Estate :         $1,750.07                 TOTAL - ALL ACCOUNTS                              Receipts     Disbursements                  Balances

                                                                                   MMA # 9200-******49-65                             1,750.07                   51.29                 0.00
                                                                                   Checking # 9200-******49-66                            0.00                 1,698.78                0.00

                                                                                                                                     $1,750.07             $1,750.07                  $0.00




{} Asset reference(s)                                                                                                                         Printed: 02/29/2012 11:01 AM           V.12.57
